         Case 1:22-mj-00022-RMM Document 79 Filed 01/17/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                              )
                                                       )
       Plaintiff,                                      )             1:22-MJ-22-ZMF
                                                       )
       v.                                              )
                                                       )
HEATHER R. MORGAN,                                     )
                                                       )
      Defendant.                                       )
__________________________________________


                                              ORDER

       Defendant, Heather Morgan, has moved to modify the Conditions of Pretrial Release to

modify the hours of home confinement to permit Ms. Morgan to work from her employer’s office

Monday, Wednesday, and Friday from 10 AM until 8:30 PM. The government has consented.

       For the reasons set forth in the consent motion, the Court GRANTS the motion. Ms.

Morgan is permitted to leave home confinement on Monday, Wednesday, and Friday from 10 AM

to 8:30 PM to work at her employer’s office, at the location provided to Pretrial Services. All

other conditions of pretrial release shall remain in effect.

                                                                      2023.01.1
SO ORDERED this 17th day of January, 2023                             7 13:59:48
                                                                      -05'00'
                                                       _____________________________
                                                       Hon. Zia M. Faruqui
                                                       United States Magistrate Judge
